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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA               HONORABLE JEROME B. SIMANDLE


       v.                                         Criminal Action
                                                 No. 10-510 (JBS)
  DWAYNE ONQUE, MASHON ONQUE,
  and NANCY WOLF-FELS
                                                         OPINION
                   Defendants.


 APPEARANCES:

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 SIMANDLE, Chief Judge:

 I.    INTRODUCTION

       On October 6, 2014, defendants Dwayne Onque, Mashon Onque,
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 and Nancy Wolf-Fels were found guilty after a four-week jury

 trial for their roles in a large-scale mortgage fraud

 conspiracy. The jury convicted all three defendants of

 conspiracy to commit wire fraud and also convicted defendant

 Dwayne Onque on one count of conspiracy to commit money

 laundering.

       Defendants Dwayne Onque and Mashon Onque have filed motions

 for acquittal and for a new trial under Federal Rules of

 Criminal Procedure 29 and 33. Defendant Nancy Wolf-Fels has

 filed a motion for a new trial under Rule 33. For the reasons

 set forth below, Defendants’ motions will be denied.

 II.   BACKGROUND

       The Court assumes the parties’ familiarity with the

 underlying facts of this case and recites briefly only those

 facts particularly relevant for deciding these motions.

       On November 6, 2013, a federal grand jury returned a two-

 count Superseding Indictment (“Indictment”) against seven

 individuals involved in the conspiracy. Count One charged

 Defendants Nancy Wolf-Fels, Dwayne Onque, Mashon Onque

 (“Defendants”) with one count of Conspiracy to Commit Wire Fraud

 in violation of 18 U.S.C. § 1349. Count Two charged Defendant

 Dwayne Onque with one count of Conspiracy to Commit Money

 Laundering in violation of 18 U.S.C. § 1956(h).

       Prior to trial, Defendants each filed a motion to exclude

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 certain evidence of uncharged conduct the Government sought to

 admit under Federal Rule of Evidence 404(b). The Court denied

 the motions and permitted the Government to offer evidence of

 Defendants’ conduct in several other real estate transactions

 for limited purposes. [Docket Items 156, 157, & 158.]

       The Indictment alleged that Defendants intentionally

 conspired and agreed with others to devise a mortgage fraud

 scheme and to obtain money and property by means of materially

 false and fraudulent pretenses, representations, and promises.

 According to the indictment, the ringleaders of the conspiracy,

 which included Nicholas Tarsia, Jr., Timothy Ricks, Darryl

 Henry, and Jerry Smith, found financially distressed properties,

 induced lenders to loan funds in excess of the actual value and

 price of the properties using false sales agreements and loan

 applications and straw buyers, and, when the properties closed,

 pocketed the excess funds that were released by the mortgage

 lenders based on the inflated price. The Indictment charged the

 defendants with participating in over two dozen fraudulent

 transactions that occurred between October 2006 and May 2008,

 although the Government alleges that the scheme continued for

 much longer. The Government alleges that members of the

 conspiracy caused approximately 15 million dollars in fraudulent

 mortgage loans to be released.

       The conspiracy required a number of individuals in a

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 variety of different roles. Tarsia, Ricks, Henry, and others

 recruited straw purchasers to buy distressed properties at a

 price that was reported to lenders as much higher than the

 actual sale price. With the help of co-conspirators whose job it

 was to create false documents, the straw purchasers would submit

 loan applications with supporting documents reflecting inflated

 incomes, fictitious jobs or elevated job titles, false bank

 account balances, and fictitious assets. The loan applications

 were then submitted to various lenders with the assistance of

 mortgage brokers. After the mortgages were approved, title

 clerks prepared closing documents, which included standard HUD-1

 Settlement Statements (“Hud-1 statements”) used by lenders to

 verify the accuracy of loan applications and sales agreements

 and to certify that loans were properly disbursed. The HUD-1

 statements in this case misrepresented the value of the sale and

 falsely stated that the borrowers brought certain deposits and

 down payments to the closing when in fact they brought nothing.

 These false representations played an important role in

 convincing lenders that the purchasers had a financial stake in

 the property and were less likely to default. Once the closings

 went through and lenders released the money, title clerks

 distributed the proceeds and the co-conspirators received the

 funds released by the lenders that were in excess of the actual

 sale price.

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       At trial, the government presented the following evidence

 linking defendants Dwayne Onque, Mashon Onque, and Nancy Wolf-

 Fels to the conspiracy.

       A.     Dwayne Onque

       Dwayne Onque (“Dwayne”) was a straw purchaser who made an

 agreement with co-conspirators to submit loan applications and

 purchase properties in his name. Co-conspirator Tim Ricks, who

 was a childhood friend of Dwayne’s, testified that he approached

 Dwayne to be a potential buyer of properties and made an

 arrangement with Dwayne to be paid in exchange for using

 Dwayne’s name on loan applications. (9/17 T. 963:13-965:17.)

 Ricks testified that there was an “unspoken” understanding that

 Dwayne would apply for the mortgage in his name but Ricks or

 others would bring the necessary down payments to the closing.

 (Id. T. 968:20-21; T. 1001:17-21.)

       FBI Special Agent Scott Stefanowicz testified that Dwayne

 signed five loan applications over a period of nine months that

 contained false information about his job title, income,

 address, and use of the property. For example, Agent Stefanowicz

 testified that Dwayne submitted loan applications stating that

 he was vice president of a company called Diamond Disposal when

 he was actually a truck driver with the company. (9/11 T.

 269:12-270:23.) Similarly, Dwayne’s former boss, Daniel Plaxe,

 testified that Dwayne asked him to inflate Dwayne’s title at the

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 company to “more than just a driver” and lie about his income on

 an employment verification form in connection with Dwayne’s

 mortgage application. (9/22 T. 1149:5-21.)

       IRS Special Agent Scott Smith, who interviewed Dwayne in

 2008, testified that Dwayne admitted to Smith that he was

 working with Ricks. Dwayne told Smith that Ricks would pay

 Dwayne money each time Dwayne’s name was used to purchase a

 property, and that Nick Tarsia would temporarily deposit money

 into Dwayne’s bank account in order to make it appear to a

 lender that Dwayne had more money. (9/29 T. 1724:12-1725:23.)

 Dwayne also admitted to Smith that he had asked his employer,

 Daniel Plaxe, to lie about Dwayne’s employment to make it appear

 to lenders that Dwayne had a better job. (9/29 T. 1725:24-

 1726:8.) Dwayne told Smith that he brought no down payments or

 funds of his own to closings, in contrast to what was stated in

 the HUD-1 statements. (9/29 T. 1726:9-19.)

       Once the funds were deposited in a title company’s escrow

 account, Dwayne and his co-conspirators extracted proceeds from

 the fraud through wire transfer checks to Tarsia, Ricks, and

 Henry. Tarsia and Ricks then transmitted a portion of those

 proceeds to Dwayne. The Government presented evidence of checks

 from Ricks to Dwayne, which Ricks testified was payment to

 Dwayne for allowing Dwayne’s name to be used on the mortgage

 applications. (T. 994:21-996:2, 1006:21-1007:5, 1014:20-1-15:6,

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 1017:22-1018:3, 1021:20-1022:2; Gov’t Ex. 512A (check for

 $15,000), 611A (check for $18,000), 717 (check for $12,000), 823

 (check for $15,000), 922A (check for $3500).)

       B.    Mashon Onque

       Mashon Onque (“Mashon”), Dwayne’s sister, worked as a Title

 Officer at Tri-State Title Agency, Inc. in Montclair, New

 Jersey. Her responsibility as a title officer included

 overseeing the signing of closing documents, completing a HUD-1

 Settlement Statement which verified the accuracy of the loan

 applications and terms of the transaction, and ensuring that the

 money was distributed according to the HUD-1. Each HUD–1 that

 Mashon signed required her to acknowledge that “The HUD–1

 Settlement Statement which I have prepared is a true and

 accurate account of this transaction. I have caused or will

 cause the funds to be disbursed in accordance with this

 statement.”

       At trial, the Government presented evidence that Mashon was

 the title clerk for several fraudulent real estate transactions

 at which she signed inaccurate HUD-1 Settlement Statements for

 straw purchasers recruited by the co-conspirators. Specifically,

 Mashon served as a title agent for a transaction in October 2006

 for a property at 52 Starr Court in Middletown, New Jersey,

 purchased in her brother’s name (Gov’t Ex. 505); and one in May

 2008 for a property at 106 South 7th Street in Newark, New

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 Jersey, purchased by straw buyer Kevin Livingston. (Gov’t Ex.

 2007.) In addition, the Government presented Rule 404(b)

 evidence showing that in September 2006, Mashon acted as the

 title agent for three other transactions involving two other

 properties, in September 2006, December 2006, and February 2007.

 Two of those transactions involved Mashon’s brother Dwayne.

 (Gov’t Ex. 3500A, 3600, 3700.) The Government also introduced

 evidence showing that Mashon deposited into her own account

 several checks made out to Dwayne around the time of the

 February 2007 transaction. (Gov’t Exs. 3603, 3604, 3605.) The

 Government finally presented evidence that Mashon notarized the

 closing documents for transactions involving straw buyers Kevin

 Livingston and Robert Allen, Jr., even though Livingston and

 Allen were not present. (See 9/22 T. 1064:20-1067:5; Gov’t Br.

 14.) Ricks testified that he saw Mashon notarize a number of

 documents for Livingston outside of his presence. (9/22 T.

 1067:6-9.)

       The Government introduced HUD-1 settlement statements and

 disbursement statements for these transactions, showing that

 after funds were released by the banks, Mashon directed them to

 be distributed in a manner that was inconsistent with what she

 certified was in the HUD-1 and loan applications. (Compare Exs.

 513, 2008, 3601, 3701 with Exs. 505, 2007, 3600, 3700.)

       Tim Ricks testified that he recruited Mashon and asked her

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 to participate in his scheme. (9/17 T. 953:23-954:2.) He also

 testified that during the closing of one property, Mashon never

 questioned why Dwayne, the purchaser, brought no down payment to

 the closing and never questioned the distribution of nearly

 $100,000 to co-conspirator Tarsia even though that was not

 listed on the HUD-1. For her work, Mashon was paid normal

 commission fees.

       C.    Nancy Wolf-Fels

       Nancy Wolf-Fels was employed as a mortgage broker by

 Mortgage Now, Inc. in Forked River, New Jersey, at the time of

 the conspiracy. The Government alleged that she helped the co-

 conspirators obtain mortgage loans by submitting loan

 applications that were based on false information and fraudulent

 documents. At trial, co-conspirators Larry Barker, Robert Allen

 Jr., and Kevin Livingston, testified that in 2007, Nancy Wolf-

 Fels processed several loan applications submitted on their

 behalf with false information about their employment history,

 financial assets, and purpose of the home purchases. Wolf-Fels

 received a standard commission for each of these transactions.

       The Government also presented testimony from several other

 co-conspirators, including Darryl Henry, Jerry Smith, Elizabeth

 Hidalgo, and Donald Cromwell that Wolf-Fels had assisted with

 fraudulent loan applications for other properties in 2004 and

 2005. For example, Henry testified that Wolf-Fels instructed

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 Henry and others about the financial information that loan

 applicants needed in order to be approved. (9/15 T. 528:8-534:8;

 558:21-562:2; 606:16-23.) He also testified that Tarsia directed

 how Wolf-Fels would be paid. (9/15 T. 555:19-556:3.) Elizabeth

 Hidalgo, who was responsible for creating fraudulent loan

 documents, testified that she had a conversation with Wolf-Fels

 about the specific asset numbers needed on loan applications and

 documents. (9/16 T. 829:2-13.) The Government also introduced

 three checks from Henry to Wolf-Fels in 2004, which Henry

 testified was given to Wolf-Fels on top of her standard

 commission fee for her part in the conspiracy. (Gov’t Exs. 2202,

 2304, 2400.)

       D.    Procedural History and Plaintiff’s Arguments

       The three defendants, each separately represented by

 counsel, were tried together in a single trial which commenced

 on September 8, 2014 and concluded on October 6, 2014. A jury

 found Wolf-Fels, Mashon Onque, and Dwayne Onque guilty of

 conspiracy to commit wire fraud (Count One). The jury also found

 Dwayne Onque guilty of conspiracy to commit money laundering

 (Count Two).

       All three defendants filed motions for acquittal or new

 trial. Mashon and Dwayne raise some of the same trial errors.

 They both argue that the evidence was insufficient to support

 their convictions, and Dwayne additionally contends that the

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 verdict was against the weight of the evidence. Both Mashon and

 Dwayne also argue that a new trial must be granted because the

 use of a willful blindness jury instruction was reversible

 error, as was the instruction on the use of co-conspirator

 statements made in the defendant’s absence. They also argue that

 the Court erred in allowing the Government to introduce a

 summary chart summarizing the real estate transactions at trial.

       In addition, Mashon argues that the Court erred in

 admitting certain Rule 404(b) evidence about Mashon’s

 involvement in uncharged real-estate purchases; and that the

 government’s closing and rebuttal mischaracterized certain

 testimony about Mashon and misstated the law.

       Wolf-Fels does not join in these arguments. She argues only

 that a new trial must be granted under Rule 33 because a newly

 discovered invoice for “re-roof[ing] work” done by Wolf-Fels’

 deceased husband calls into question the veracity of Darryl

 Henry’s testimony, and because Darryl Henry committed perjury.

       The government filed a single response addressing each of

 Defendants’ arguments, arguing that these post-verdict motions

 be denied. The Court heard oral arguments on these motions on

 December 19, 2014.

 III. DISCUSSION

          A. Standard of Review

       Under Federal Rule of Criminal Procedure 29, a judgment of

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 acquittal must be entered for any offense “for which the

 evidence is insufficient to sustain a conviction.” Fed. R. Crim.

 P. 29(a). The defendant bears a heavy burden in challenging her

 conviction on this ground. The standard of review is

 “particularly deferential” to the jury verdict. United States v.

 Cothran, 286 F.3d 173, 175 (3d Cir. 2002) (quoting United States

 v. Dent, 149 F.3d 180, 187 (3d Cir. 1998)). Not only must the

 evidence be considered in light most favorable to the

 government, all credibility issues must be resolved in the

 Government’s favor. Id. Moreover, the court must affirm the

 verdict as long as a rational trier of fact could have found the

 essential elements of the crime beyond a reasonable doubt.

 United States v. Rawlins, 606 F.3d 73, 80 (3d Cir. 2010). In

 other words, the verdict must be upheld as long as the evidence

 does not “‘fall below the threshold of bare rationality.’”

 United States v. Caraballo-Rodriguez, 726 F.3d 418, 431 (3d Cir.

 2013) (en banc) (quoting Coleman v. Johnson, 132 S. Ct. 2060,

 2065 (2012)).

       Rule 33 allows the court to “vacate any judgment and grant

 a new trial if the interest of justice so requires.” Fed. R.

 Crim. P. 33(a). In general, motions for a new trial “should be

 granted sparingly.” United States v. D’Amario, 2007 WL 928473,

 at *5 (D.N.J. Mar. 26, 2007) (citing United States v. Copple, 24

 F.3d 535, 547 n. 17 (3d Cir. 1994)). In considering a Rule 33

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 motion, the Court “may weigh the evidence, but may set aside the

 verdict and grant a new trial only if” it determines that the

 verdict constitutes a miscarriage of justice, or that a trial

 error had a substantial influence on the verdict. United States

 v. Stewart, 325 F.Supp.2d 474, 485 (D. Del. 2004). In analyzing

 a verdict under Rule 33, the Court must exercise its own

 judgment in assessing the Government’s case, and does not view

 evidence favorably to the Government. United States v. Johnson,

 302 F.3d 139, 150 (3d Cir. 2002).

       Motions for a new trial based on weight of the evidence are

 similarly “not favored”; they are “granted sparingly and only in

 exceptional cases.” United States v. Brennan, 326 F.3d 176, 189

 (3d Cir. 2003) (quoting Government of Virgin Islands v.

 Derricks, 810 F.2d 50, 55 (3d Cir. 1987)). A district court may

 order a new trial “only if it believes that there is a serious

 danger that a miscarriage of justice has occurred – that is,

 that an innocent person has been convicted.” United States v.

 Salahuddin, 765 F.3d 329, 346 (3d Cir. 2014) (internal

 quotations and citation omitted).

          B. Mashon Onque

               i. The Evidence was Sufficient to Sustain the
                  Conviction

       Mashon argues that acquittal is warranted because the

 evidence was insufficient to show that she knew about the



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 fraudulent scheme, was a party to the conspiracy, or intended to

 participate in it. (Br. in Support of Mashon Onque’s Mot. for

 Judgment of Acquittal or for a New Trial (“M.O. Br.”) 2-25.)

       To establish a charge of conspiracy, the Government must

 prove (1) a unity of purpose (2) an intent to achieve a common

 illegal goal, and (3) an agreement to work towards that goal,

 which the defendant knowingly joined. United States v. Boria,

 592 F.3d 476, 481 (3d Cir. 2010); United States v. Pressler, 256

 F.3d 144, 149 (3d Cir. 2001). In particular, the Government must

 show that the defendant had knowledge of the specific illegal

 objective of the conspiracy and intended to participate in the

 fraudulent scheme Id.; United States v. Chaffo, 452 Fed. Appx.

 154, 159 (3d Cir. 2011).

       There can be no conspiracy without evidence that the

 defendant agreed to work with someone else, but in a conspiracy,

 “rarely is there direct evidence of a qualifying agreement.”

 Pressler, 256 F.3d at 149. Consequently, an agreement to defraud

 is usually proved through circumstantial evidence. United States

 v. Caraballo-Rodriguez, 726 F.3d 418, 431 (3d Cir. 2013); United

 States v. Chaffo, 452 Fed. Appx. 154, 159-60 (3d Cir. 2011).

 Circumstantial evidence is “evidence of related facts and

 circumstances from which it appears as a reasonable and logical

 inference, that the activities of the participants . . . could

 not have been carried on except as the result of a preconceived

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 scheme or common understanding,” United States v. Kapp, 781 F.2d

 1008, 1010 (3d Cir. 1986), and may include, for example,

 evidence of a continuing personal or professional relationship

 between the principal architects and the defendant, the

 existence of “excessive financial gain” or over-generous

 compensation, and the defendant’s role in the overall operation.

 United States v. Pearlstein, 576 F.2d 531, 541-42 (3d Cir.

 1978). Because “[s]ecrecy and concealment are essential features

 of successful conspiracy,” the law “rightly gives room for

 allowing the conviction of those discovered upon showing

 sufficiently the essential nature of the plan and their

 connections with it, without requiring evidence of knowledge of

 all its details or of the participation of others.” Blumenthal

 v. United States, 332 U.S. 539, 557 (1947).

       The evidence at trial was sufficient to show that Mashon

 Onque agreed to and knowingly participated in the conspiracy. A

 reasonable jury could have found that Mashon knew of the

 illegality of the scheme based on how she handled the

 inconsistent HUD-1 and disbursement statements. See Kapp, 781

 F.2d at 1011 (defendant’s act in furtherance of conspiracy

 suggested agreement because it was done with knowledge of some

 illegality). Mashon knew that the money was not accurately

 recorded in the HUD-1, yet she still signed her name to the

 certification on the bottom of each HUD-1 that it was a true and

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 accurate account of the transaction. Mashon also authorized the

 disbursement of funds to individuals not listed on the HUD-1

 when as a title clerk she should have known that this was not in

 accordance with the lender’s requirements and the certification

 on the HUD-1 itself.

       Defendant’s argument that there was evidence in the record

 suggesting that her conduct was entirely innocent is

 unpersuasive. She points to testimony that Tri-State provided no

 training on closings; however, Mashon’s co-worker Joanne Coyne

 testified to knowing that they were not allowed to disburse

 funds to individuals not listed on the HUD-1. (9/23 T. 1306:2-

 20.) Mashon also notes that the “side” arrangements to transfer

 money to unlisted individuals were known to all the parties. But

 it was not entirely clear that these arrangements were out in

 the open; the jury also heard evidence from the Government that

 the side authorizations were omitted from the lender’s file

 because “[the conspirators] didn’t want the lender to know about

 this.” (9/30 T. 1897:9.) Although Defendant points out that the

 lack of oversight and training at Tri-State could suggest

 Mashon’s innocence, a reasonable jury could draw an equally

 valid inference that Mashon took advantage of the lack of

 oversight at Tri-State to engage in unlawful conduct.1


 1 Mashon makes a vigorous attempt to parse the evidence in the
 record and show that each piece could have been interpreted more
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       The Government presented evidence showing that Mashon was a

 closing agent in not just one, but several irregular real estate

 transactions involving the same people and she performed the

 same kinds of tasks during each transaction. Her repeated

 engagement in unlawful behavior tends to make more likely the

 fact that she was aware of her role and did not make an innocent

 mistake. See United States v. Claxton, 685 F.3d 300, 310 (3d

 Cir. 2012) (evidence that defendant facilitated several drug

 transactions makes it more likely that defendant knew the true

 nature of the criminal enterprise); United States v. Chaffo, 452

 Fed. Appx. 154, 160 (3d Cir. 2011) (evidence that defendant

 participated in numerous fraudulent real estate transactions

 suggested that his actions were “not a simple oversight or

 mistake, but rather a calculated and deliberate decision to

 participate”); see also United States v. Smith, 294 F.3d 473,

 478 (3d Cir. 2002) (reasonable juror could conclude that there

 was a tacit agreement among a group of people when they engage



 innocently. Even if so, the jury evidently rejected this
 interpretation and it is not this Court’s role to revisit it.
 See United States v. Brodie, 403 F.3d 123, 133 (3d Cir. 2005)
 (“Courts must be ever vigilant in the context of [Rule 29] not
 to usurp the role of the jury by . . . substituting its judgment
 for that of the jury.”). To sustain a conviction for conspiracy,
 the “contention that the evidence also permits a less sinister
 conclusion is immaterial. . . . [T]he evidence does not need to
 be inconsistent with every conclusion save that of guilt.”
 United States v. Dent, 149 F.3d 180, 188 (3d Cir. 1998). The
 Court need only find that the evidence, taken as a whole, was
 sufficient for a rational trier of fact to have found the
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 in “so many unusual acts”).

       There were other irregularities that suggested Mashon’s

 knowledge and intent. In addition to acting as a title clerk,

 Mashon also falsely notarized closing documents for Ricks.

 Moreover, the Government presented evidence that Mashon helped

 her brother purchase two properties for significant sums of

 money within months of each other without questioning how Dwayne

 could have afforded the purchases on his salary as a truck

 driver. As with the other transactions, Mashon authorized the

 closing even though her brother the buyer brought no money of

 his own. Mashon argues that there was no evidence she knew that

 she was helping to defraud lenders, but the precise nature of

 her actions suggests otherwise. The Government showed at trial

 that Mashon’s conduct contradicted fundamental closing

 procedures and that it was known that lenders relied on

 certifications that buyers brought their own money to safeguard

 against the risk of default. (9/24 T. at 1426:14-23.) A

 reasonable jury could have inferred from this evidence that

 Mashon know of the conspiracy’s ultimate goal.

       Moreover, the evidence showed Mashon benefited from the

 fraudulent scheme since she she cashed three checks from Dwayne

 for her participation. (Gov’t Exs. 3603, 3604, 3605.) The sums

 of the checks, which ranged from $400 to 1,000, were small


 essential elements of the crime beyond a reasonable doubt.
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 compared to the amount other co-conspirators received.

 Nonetheless, a rational trier of fact could have concluded that

 the commissions Mashon received from the sales and the

 anticipation of future commissions were probative of motive for

 participating in the conspiracy. See Chaffo, 452 Fed. Appx. at

 156 (evidence was sufficient to uphold conviction of wire fraud

 and conspiracy to commit wire fraud where defendant, who served

 as the closing attorney for fraudulent mortgage deals, signed

 off on HUD-1 transactions that were inaccurate, disbursed funds

 not in accordance with the HUD-1, and was paid normal rates and

 fees for his work, among other things). In this case, there was

 evidence that Mashon made substantial commissions on each

 closing. The closing agents in her firm, according to her co-

 worker Joanne Coyne, earned salary and commission, and where the

 agent brought in the client – such as Ricks’ associates

 including her brother – the commission amounted to 40 percent of

 the title insurance payment. (9/23 T. 1293:11-94:22.)

       Finally, the jury also heard testimony from Ricks that

 Mashon and Ricks had a tacit agreement. Although Ricks did not

 explicitly tell Mashon that the transactions were fraudulent,

 Ricks testified that he asked Mashon “to participate in criminal

 activity” and that he and Mashon had an “unspoken”

 understanding. (9/17 T. 953:23-25.) Based on Ricks’ testimony

 that Mashon was a participant in their scheme, a rational jury

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 could have inferred that Mashon was a member of the conspiracy.

 See Claxton, 685 F.3d at 309-10 (finding that co-conspirator’s

 statement at trial that defendant was a “member of the

 organization” is “strong circumstantial evidence of

 [defendant’s] knowing involvement” in conspiracy and noting that

 admitted co-conspirator’s testimony regarding who was a co-

 conspirator “remains highly pertinent to the question of the

 defendant’s knowing complicity in the crime.”); see also United

 States v. Hernandez, 962 F.2d 1152, 1155-57 (5th Cir. 1992) (co-

 conspirators’ testimony regarding defendant’s participation in

 conspiracy was sufficient to sustain defendant’s conviction).

       This case is distinguishable from United States v.

 Pearlstein, 576 F.2d 531 (3d Cir. 1978), which Mashon cites for

 support. The defendants in Pearlstein were low-level salesmen

 who were hired by conspirators to sell pens to distributors and

 later convicted of mail fraud. The conspirators ran a fraudulent

 business and gave the salesmen fake promotional materials, but

 the salesmen were not told that the business was fake. Id. at

 538. The Third Circuit held that there was insufficient evidence

 to show that the defendants knew or should have known about the

 conspirators’ fraud. Central to this finding was evidence that

 defendants were kept completely in the dark about the managerial

 side of the company. Id. at 541. They were forbidden from

 reading company mail or perusing company files and played no

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 part in creating the promotional materials. They had no basis to

 suspect that the promotional materials they were given were

 false and misleading. Id. at 542-43.

       By contrast, there was more than enough evidence in the

 record to establish that Mashon Onque engaged in actions she

 knew deceived lenders and were against the law. That she

 repeatedly engaged in these types of transactions with known co-

 conspirators, did so without asking any questions about the

 obvious irregularities, and was identified by a co-conspirator

 as a member of the conspiracy provides additional support for a

 conclusion that Mashon knew that she was involved in an illegal

 enterprise. A reasonable jury could also find the knowledge

 requirement met on a theory of willful blindness because the

 evidence supports a conclusion that Mashon “deliberately ignored

 the high probability” that she was participating in a criminal

 conspiracy to defraud lenders, as will be explained below.

 United States v. Smith, 183 Fed. Appx. 264, 269 (3d Cir. 2006).

       Taken as a whole, the evidence was sufficient to permit a

 rational jury to find Mashon Onque guilty of conspiracy to

 commit wire fraud. The Court will deny Defendant’s motion for

 acquittal.2


 2 To the extent Mashon challenges her conviction under Rule 33
 for being against the weight of the evidence, the Court must
 also deny that claim. Viewed neutrally, the evidence against
 Mashon was not so weak to suggest that the jury wrongly
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              ii. The Court did not Err in Giving a Willful
                  Blindness Instruction

       An instruction on willful blindness may be used in a case

 to prove that a defendant acted knowingly and willfully by

 showing that she or he had knowledge or awareness of certain

 facts or circumstances. United States v. Wert-Ruiz, 228 F.3d

 250, 255 (3d Cir. 2000). A willfully blind defendant is “one who

 takes deliberate actions to avoid confirming a high probability

 of wrongdoing and who can almost be said to have actually known

 the critical facts.” Global-Tech Appliances, Inc. v. SEB S.A.,

 131 S. Ct. 2060, 2070-71 (2011). The willful blindness

 instruction is justified as long as there was sufficient

 evidence that a defendant “deliberately avoided learning the

 true facts” or “closed his eyes to what would otherwise have

 been obvious to him.” United States v. Stewart, 185 F.3d 112,

 126 (3d Cir. 1999); see also United States v. Caraballo-

 Rodriguez, 726 F.3d 418 (3d Cir. 2013); United States v. Bansal,

 663 F.3d 634, 669 (3d Cir. 2011); Wert-Ruiz, 228 F.3d at 255.

       Willful blindness “is not to be equated with negligence or

 a lack of due care,” Wert-Ruiz, 228 F.3d at 255, since willful

 blindness is a “subjective state of mind that is deemed to

 satisfy a scienter requirement of knowledge.” United States v.

 One 1973 Rolls Royce, 43 F.3d 794, 808 (3d Cir. 1994).



 convicted an innocent person.
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       Following the Third Circuit Model Jury Instructions, the

 Court in this case instructed the jury that it may find willful

 blindness if it finds evidence that the defendant subjectively

 believed there was a high probability that a fact existed, and

 “consciously took deliberate actions to avoid learning about the

 existence of this fact or circumstance.” (10/1 T. 2029:5-7.)

 Mashon argues that a willful blindness instruction was

 inappropriate here because there was no evidence that she took

 “affirmative steps” to avoid learning the truth. (Br. of M.O. 33

 (citing Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct.

 2060, 2070 (2011)).)

       The Court does not agree. The evidence showed that Mashon

 Onque ignored fundamental real estate closing protocols in

 numerous closings. As the title agent for each closing, she

 certified that inaccurate HUD-1 forms were accurate, looked the

 other way when buyers brought no down payment, and facilitated

 disbursements of money that were unauthorized, in one case doing

 so even after her co-worker stated that it should not be done.

 In addition, she notarized closing documents for a co-

 conspirator even though the documents were not signed in her

 presence. As the Court has already explained, the evidence was

 sufficient for a jury to find that Mashon likely knew that her

 actions were unlawful, yet not once did she question the things

 she was asked to do. Evidence of her taking affirmative steps to

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 facilitate these irregular transactions, combined with her

 failure to ask any questions, was sufficient to show that Mashon

 took affirmative steps to avoid learning the truth, and supports

 a willful blindness instruction. See Wert-Ruiz, 228 F.3d at 258

 (willful blindness instruction was appropriate because jury

 could have concluded that defendant “willful[ly] refus[ed] to

 connect the dots” by not asking any questions in the face of

 suspicious practices such as using code words for money,

 minimizing large dollar amounts, and receiving large amounts of

 cash in gym bags); Stewart, 185 F.3d at 126              (willful blindness

 instruction was justified in mail fraud and money laundering

 where defendant argued that he relied upon the findings of

 solvency in state examinations and audit reports but jury could

 have reasonably concluded that defendant “recognized the

 likelihood of insolvency yet deliberately avoided learning the

 true facts”); see also United States v. Appolon, 695 F.3d 44,

 64-65 (1st Cir. 2012) (willful blindness instruction was

 justified where, among other things, defendant processed

 falsified mortgage loan applications on behalf of straw buyers

 and collected commissions and knowingly misrepresented

 information on the loan applications). Accordingly, the Court

 gave a willful blindness instruction that was legally correct

 and fit the circumstances of this case.



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             iii. The Government did not Mischaracterize Testimony
                  or Law

       Mashon argues that the Government mischaracterized certain

 testimony and law in closing and rebuttal and that these

 mischaracterizations prejudiced the case, warranting a new

 trial.

       A prosecutor’s comments during summation or rebuttal are

 improper if the statements mischaracterize certain evidence or

 are based upon evidence not in the record. United States v.

 Brown, 765 F.3d 278, 296 (3d Cir. 2014); Wright et al., Federal

 Rules of Criminal Procedure § 588 (4th ed. 2011) (noting that it

 is misconduct for prosecutor “to make an assertion to the jury

 of fact . . . unless there is evidence of that fact” and

 prosecutor also should not “import his own testimony into the

 trial” or “misstate the law in closing argument.”). However, not

 all improper comments require reversal. The Supreme Court has

 emphasized that “a criminal conviction is not to be lightly

 overturned on the basis of a prosecutor’s comments standing

 alone, for the statements or conduct must be viewed in context.”

 United States v. Young, 470 U.S. 1, 11 (1985). In other words,

 the court must analyze comments on a “case by case basis, in the

 context of the entire trial.” United States v. Zehrbach, 47 F.3d

 1252, 1267 (3d Cir. 1995) (en banc) (citing Young, 470 U.S. at

 11). Moreover, in summation, a prosecutor is “entitled to


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 considerable latitude . . .       to argue the evidence and any

 reasonable inferences that can be drawn from that evidence.”

 United States v. Werme, 939 F.2d 108, 117 (3d Cir. 1991).

       Ordinarily, the court will reverse if defendant can show

 that she has suffered prejudice. Zehrbach, 47 F.3d at 1267.

 Here, however, because Mashon did not object to the prosecutor’s

 comments at closing or rebuttal, the Court will review for plain

 error. United States v. Harris, 471 F.3d 507, 512 (3d Cir.

 2006); United States v. Wright, 845 F. Supp. 1041, 1065 (D.N.J.

 1994). When reviewing claims of prosecutorial misconduct under

 the plain error standard, the question is whether the

 prosecutor’s comments caused “substantial prejudice” to the

 defendant “by so infecting the trial with unfairness as to make

 the resulting conviction a denial of due process.” Brown, 765

 F.3d at 296 (internal quotation marks and citations omitted).

       Alleged Misrepresentations of Fact

       According to Mashon Onque, the prosecutor made several

 misstatements of fact. Mashon notes that in closing and again in

 closing rebuttal, the prosecutor emphasized Ricks’ testimony

 that he “recruited [Mashon] to participate in criminal

 activity.” (10/2 T. 2093:11-12; 10/2 T. 2169:1-14.) Mashon

 argues this statement was misleading because it implied that

 Ricks explicitly asked Mashon to do something illegal. On the

 contrary, Ricks testified that he never told her of his

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 fraudulent scheme and “never said to her, let’s engage in a

 criminal conspiracy.” (9/22 T. 1122:11-17.) The Government’s

 statement, however, cannot be considered misleading because it

 essentially rephrased Ricks’ own testimony. At trial, Ricks was

 specifically asked, “Did you ask Mashon Onque to participate in

 criminal activity?” and “Did you recruit [Mashon and Dwayne]

 into this activity?” He responded “yes” to both questions. (9/17

 T. 953:23-954:4.) The prosecutor’s statement in closing closely

 tracked this language, and in closing rebuttal, the prosecutor

 cited directly from the trial transcript.

       Mashon also contends that the prosecutor mischaracterized

 the evidence when he stated in closing that Mashon and Ricks

 were “childhood friends who have grown up together.” However,

 this characterization was fair since Ricks testified that he

 knew Mashon since he was a child and knew her well. (9/17 T.

 949-950.) As for the prosecutor’s statement during closing

 rebuttal that Joanne Coyne, Mashon’s former co-worker at Tri-

 State Title, made a commission of “40% of the title insurance”

 when the actual commission was somewhat smaller, that inaccuracy

 was harmless since other documents in evidence showed exactly

 how much Mashon received for her commission. These alleged

 misstatements did not cause substantial prejudice. At most, they

 inflated the strength of certain circumstantial evidence of

 Mashon’s knowledge and intent, and did not relate any core

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 aspect of the defendant’s case. Moreover, the court cautioned

 jury members that the arguments of counsel are not evidence, and

 that they must not consider anything that was not in evidence.

 These instructions were sufficient to cure any minor error which

 might have occurred here. Zehrbach, 47 F.3d at 1267.

       The prosecutor also stated that Ricks “let [Mashon] know

 enough to show that this is a fraud and that she should help her

 brother out and that she should proceed with this transaction,

 just enough so that she could play her role. She could play her

 part. Like James Ezeilo said when he testified, that everyone

 would just stay in their lane. Everyone had their role.” (10/2

 T. 2094.) It is well established that the Government has

 “considerable latitude” in the inferences it may reasonably

 suggest to the jury during summation. Werme, 939 F.2d at 117;

 United States v. Green, 25 F.3d 206, 210 (3d Cir. 1994). Even

 though this statement was arguably imprecise, the inference that

 Mashon and Ricks had an understanding about the fraudulent

 nature of the scheme was supported by the evidence. The

 statement was made during a broader point about the secret

 nature of a conspiracy, and the Government quoted directly from

 Ricks’ testimony at trial that “a lot of things were unspoken.”

 (10/2 T. 2093:15.) Placed in context, it was therefore clear

 that the Government did not mean to suggest that Ricks and

 Mashon had an explicit conversation. The Government’s comments

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 were by no means unreasonable in light of the evidence presented

 at trial. United States v. Lee, 612 F.3d 170, 194 (3d Cir.

 2010). This statement was also harmless, since at most it showed

 that Mashon was aware of the criminal conspiracy, but as already

 noted, there was other independent evidence in the record to

 show Mashon’s knowledge and intent. The Court also instructed

 the jury prior to closing not to consider statements and

 arguments by a lawyer as evidence, and to to disregard counsel’s

 version of evidence if it did not square with their own

 recollection. (10/1 T. 2000:13-2001:14.) Moreover, the

 Government’s closing cited much of that additional evidence,

 which substantially mitigated the potential harm caused by this

 single statement.

       Alleged Misrepresentations of Law

       Mashon Onque’s arguments that the prosecutor misrepresented

 the law during closing and rebuttal are equally without merit.

 With respect to the prosecutor’s statement about the object of

 the conspiracy, the record shows that the prosecutor did not

 mislead the jurors on its meaning. The transcript clearly shows

 that the prosecutor defined “object of the conspiracy” by

 reciting verbatim the Court’s jury instructions on that term.

 (10/2 T. 2169:15-2170:16.)

       Nor was the prosecutor’s reading of only a portion of the

 instruction on willful blindness misleading. The prosecutor is

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 not required to read a jury instruction in full. Moreover, the

 Court’s complete instructions to the jury on willful blindness,

 its instruction to the jury to apply the instructions as whole,

 and its admonition to the jury to disregard contrary

 characterizations of the law by counsel, were sufficient to cure

 any error. See United States v. Staten, 2013 WL 1703396, at *13

 (M.D. Pa. April 19, 2013) (holding that court’s instructions

 cured any risk of prejudice from Government counsel’s

 misstatements in closing about the standard of proof and noting

 that “‘juries are presume to follow [the court’s]

 instructions.’” (citing Richardson v. Marsh, 481 U.S. 200, 211

 (1987))).

       The Court holds that these statements, either individually

 or on the whole, did not cause substantial prejudice. “Trials

 are rarely, if ever, perfect and improprieties of argument by

 counsel to the jury do not call for a new trial unless they are

 so gross as probably to prejudice the defendant and the

 prejudice has not been neutralized by the trial judge before

 submission of the case to the jury.” United States v. Leftwich,

 461 F.2d 586, 590 (3d Cir. 1972). In light of the curative

 instructions given, the scope of the objectionable comments and

 their relationship to the entire proceeding, and the strength of

 the evidence supporting Defendant’s conviction, the Court does

 not find that these statements “so infect[ed] the trial with

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 unfairness as to make the resulting conviction a denial of due

 process.” Brown, 765 F.3d at 296; Zehrbach, 47 F.3d at 1265.

              iv. Admission of the Government’s Summary Chart was
                  not Improper or Unduly Prejudicial

       Federal Rule of Evidence 1006 allows a party to use a

 summary chart to “prove the content of voluminous writings,

 recordings, or photographs that cannot be conveniently examined

 in court.” Fed. R. Evid. 1006. Mashon Onque argues that the

 Government’s summary charts, which were introduced near the end

 of the Government’s case to summarize the different transactions

 and show the movement of funds related to each closing, should

 not have been admitted and were unduly prejudicial. (Br. of M.O.

 38-39.)

       Rule 1006 “does not require ‘that it be literally

 impossible to examine all the underlying records [before a

 summary chart may be utilized], but only that in-court

 examination would be an inconvenience.’” United States v.

 Bertoli, 854 F. Supp. 975, 1050 (D.N.J. 1994) (quoting United

 States v. Possick, 849 F.2d 332, 339 (8th Cir. 1988))

 (overturned on other grounds). In this case, the Government

 admitted into evidence hundreds of exhibits related to over two

 dozen different property transactions. The underlying documents,

 which included HUD-1 statements, closing documents, wire

 receipts, photographs, checks, bank statements, and loan


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 applications for each property, numbered in the thousands of

 pages. The Government’s exhibit list alone was 34 pages long. It

 was clear that a jury could not have conveniently examined the

 documents, and the Court finds that it was proper to allow

 jurors the use of summary charts. The fact that the underlying

 documents were already in evidence does not change this

 reasoning. See Meister v. C.I.R., 504 F.2d 505, 513 (3d Cir.

 1974) (“Summaries of voluminous business records are admissible

 in evidence where the records are already in evidence,

 permitting independent verification of the summaries.”).

       The charts were also not misleading or prejudicial because

 they failed to note each and every payment that was made for

 each transaction. The omitted payments, such as taxes, water

 bills, or prior mortgages, were not probative of the issues at

 trial. Nor was Government Exhibit 9002, which used arrows to

 indicate that three checks received by Dwayne went to Mashon,

 misleading or prejudicial. The underlying evidence showed that

 Mashon actually deposited into her bank account the checks paid

 to Dwayne for the closing at 93 N. 15th Street. (See Gov’t Exs.

 3603, 3604, 3605.) The arrows therefore properly showed what was

 already in evidence: that Dwayne’s checks were cashed by Mashon.

 Accordingly, the Court finds that the summary charts were

 properly admitted.



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               v. The Court did not Err in Its Instruction to the
                  Jury on Considering Statements by Co-Conspirators

       Mashon Onque finds fault with the Court’s instructions to

 the jury that statements made by co-conspirators may be used as

 evidence against Mashon.3 She contends that the instruction was



 3 No defendant has argued that any particular evidence was
 improperly admitted under Fed. R. Evid. 801(d)(2)(E), nor was
 such an objection made at trial when such statements were being
 adduced. Likewise, neither the Government or defense counsel
 requested during the trial that the Court address the
 admissibility of such evidence under Bourjaily v. United States,
 483 U.S. 171, 175 (1987). Where such a question is raised, the
 Court will determine admissibility under Rule 801(d)(2)(E) by a
 preponderance of the evidence, id. at 175-76, and there is no
 requirement, in making the determination, that the Court must
 consider only evidence independent of such statements. Id. at
 176-181. The standards for admitting a co-conspirator’s
 statement over an objection under Rule 801(d)(2)(E) requires a
 showing of “evidence that there was a conspiracy involving the
 declarant and the nonoffering party, and that the statement was
 made ‘during the course of and in furtherance of the
 conspiracy.’” Bourjaily, 483 U.S. at 175. Rule 801(d)(2)(E) was
 amended in 1997, in response to Bourjaily, to clarify that the
 challenged statement itself “must be considered but does not by
 itself establish . . . the existence of the conspiracy or
 participation in it under (E). Fed. R. Evid. 801(d)(2)(E). Thus,
 there must be a showing of “some evidence in addition to the
 contents of the statement,” supporting the existence and
 membership prongs. Fed. R. Evid. Advisory Comm. Notes (1997). In
 any event, as there was no objection to admissibility under Rule
 801(d)(2)(E), no explicit Bourjaily analysis was triggered or
 made at trial. Even in matters where there had been an objection
 raised to co-conspirator testimony, the Court of Appeals has not
 required explicit findings of existence of conspiracy and
 membership of the accused in upholding admissibility. United
 States v. McGlory, 968 F.2d 309, 334 n. 15 (3d Cir. 1992);
 United States v. Cruz, 910 F.2d 1072, 1081 (3d Cir. 1990)
 (citing United States v. Ammar, 714 F.2d 238, 247 (3d Cir. 1981)
 (rejecting appellant’s claim that the court failed to make a
 finding of defendant’s participation in the conspiracy before
 submitting co-conspirator statements to the jury).
      Nonetheless, the Court made findings in connection with the
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 in error because it did not require the jury to first find that

 Mashon knowingly and intentionally joined the conspiracy before

 considering such statements against her. (Br. of M.O. 36-37.)

       The Court finds no support for Mashon’s argument. The

 Court’s instructions followed the Third Circuit’s Model Jury

 Instruction on Acts and Statements of Co-Conspirators, which

 omit any reference to the basis of admissibility of co-

 conspirator statements. See Third Circuit Model Criminal Jury

 Instructions § 6.18.371K. In fact, the comments to the Third

 Circuit’s Model Criminal Jury Instructions make clear that the

 Court need not instruct the jury on prerequisites before

 considering co-conspirator statements that have already been

 admitted into evidence at trial. The comments specifically state

 that “[t]he court need not instruct regarding each prerequisite

 of admissibility of a co-conspirator statement, after the court

 has deemed such a statement admissible.” Comments to the Third

 Circuit’s Model Jury Instruction § 6.18.371K.




 parties’ Rule 29(a) motions for judgment of acquittal at the
 close of the government’s case – and long before the matter was
 submitted to the jury – that there was sufficient evidence from
 which a jury could find beyond a reasonable doubt that the
 charged conspiracy existed and that each defendant was a member
 of it. (9/30 T. 1941:9-1946:4.)
      Since the present motion directs itself to the correctness
 of the jury instruction on co-conspirator statements, rather
 than the admissibility of any such evidence, this opinion will
 focus upon the instructions given.
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       Indeed, it would not have been appropriate for a jury to

 make a second determination on the admissibility of co-

 conspirator statements. As the comments specifically note, it is

 the duty of the judge, not the jury, to decide whether the

 prerequisites for admissibility have been met. Comments to the

 Third Circuit’s Model Jury Instruction § 6.18.371K (citing

 Bourjaily v. United States, 483 U.S. 171, 175 (1987)). Because

 the statements being considered by the jury have already been

 admitted into evidence, the jury instructions do not need to go

 into the “unnecessary explication of the basis of

 admissibility.” Id. Any additional instruction on admissibility

 would have risked creating confusion with the jury.

       The Court thus gave Instruction No. 36, “Conspiracy –

 Statements of Co-Conspirators” as follows:

            Evidence has been admitted in this case that
       certain persons, who are alleged to be co-conspirators
       of Nancy Wolf-Fels, Dwayne Onque, and Mashon Onque,
       said certain things.    The statements of any member of
       a conspiracy are treated as the statements of all the
       members of the conspiracy, if these statements were
       spoken during the existence of the conspiracy and to
       further the objectives of the conspiracy.
            Therefore, you may consider as evidence against
       Nancy Wolf-Fels, Dwayne Onque, and Mashon Onque,
       statements made by members of the alleged conspiracy,
       during the existence of and to further the objectives
       of the conspiracy.    You may consider these statements
       even if they were made in the defendant’s absence and
       without his or her knowledge.         As with all the
       evidence presented in this case, it is for you to
       decide whether you believe this evidence and how much
       weight to give it.


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            Statements made by an alleged co-conspirator
       during the course of the charged conspiracy but before
       a particular defendant joined the alleged conspiracy
       may also be considered by you as evidence against a
       defendant. However, statements made before the alleged
       conspiracy began or after it ended may not be
       considered by you as evidence against defendants who
       are on trial.

 (Jury Instr. [Docket Item 214] No. 36, at 46.) Contrary to

 Mashon’s argument, the Court instructed the jury that a

 defendant could not be convicted of conspiracy unless that

 defendant’s membership in the conspiracy was proved beyond a

 reasonable doubt. Thus, the Court gave Instruction No. 29,

 “Conspiracy – Membership in the Agreement,” instructing among

 other things that “the government must prove beyond a reasonable

 doubt, as to that defendant, that the defendant knowingly and

 intentionally joined that agreement or conspiracy during its

 existence.” (Id. No. 29, at 37.) That instruction continues for

 one and a half pages to emphasize the requirements for the

 Government to prove and the jury to find a defendant is a

 member. (Id. at 37-38.) The jury thus knew, before having the

 instruction on statements of co-conspirators, that if Mashon

 Onque was not a knowing member, she could not be regarded as a

 conspirator. Instruction No. 36 correctly stated: “The

 statements of any member of a conspiracy are treated as the

 statements of all the members of the conspiracy, if these

 statements were spoken during the existence of the conspiracy


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 and to further the objectives of the conspiracy.” It was not

 necessary to again define what was meant by the term “member of

 the conspiracy” because that had already been done.4

       The Third Circuit has rejected an argument that the trial

 court should have instructed the jury to consider a co-

 conspirator statement only if it found independent evidence of

 the conspiracy. The Court of Appeals has held that such an

 instruction was not necessary and explained that “[o]nce the

 judge as made the initial determination of admissibility, the

 jury should not be given an opportunity to second-guess his

 decision.” United States v. Bey, 437 F.2d 188, 191-91 (3d Cir.

 1971) (citing United States v. Geaney, 417 F.2d 1116 (2d Cir.

 1969) and United States v. Ragland, 375 F.2d 471 (2d Cir.

 1967)). In other cases, the Third Circuit has noted that it is

 appropriate to omit from the jury instructions an instruction on

 the factual foundation for admitting a co-conspirator statement.

 See United States v. Pungitore, 910 F.2d 1084, 1147 (3d Cir.

 1990); United States v. Continental Group, 603 F.2d 444, 459 (3d

 Cir. 1979) (noting that jury instruction was “superfluous” when

 it instructed the jury on the sufficiency of independent


 4 The very first instruction to the jury was to consider and
 apply all instructions “as a whole. Each part of them is to be
 considered and applied with all other parts of these
 instructions. Therefore, you should not pick out any one
 particular aspect of these instructions and apply it without
 considering all of the others.” (Jury Instr., No. 1,
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 evidence to prove membership in conspiracy before considering

 statements by co-conspirators against a particular defendant).

       Mashon’s citation to United States v. McGlory, 968 F.2d 309

 (3d Cir. 1992) is inapposite because McGlory states the

 requirements for admitting co-conspirator statements under

 Federal Rule of Evidence 801(d)(2)(E). McGlory does not require

 the jury to make that same finding prior to considering the

 statements. Accordingly, the Court finds that the instruction

 given to the jury on co-conspirator statements was not

 erroneous.

              vi. 404(b) Evidence about Mashon Onque’s Involvement
                  in Uncharged Real Estate Transactions was
                  Properly Admitted

       Finally, Mashon argues that the evidence of her involvement

 in previous fraudulent real estate transactions should have been

 excluded under Federal Rule of Evidence 404(b). (Br. of M.O. 40-

 44.) The admission of prior “bad acts” under Rule 404(b) must

 follow four guidelines: (1) the evidence must have a proper

 purpose under Rule 404(b); (2) it must be relevant; (3) its

 probative value must outweigh its potential for unfair

 prejudicial effect under Rule 403; and (4) the Court must charge

 the jury to consider the evidence only for the limited purpose

 for which it is admitted. Huddleston v. United States, 485 U.S.



 “Introduction,” at 1.)
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 681, 691–92 (1988); United States v. Console, 13 F.3d 641, 659

 (3d Cir. 1993).

       The Court instructed the jury that the evidence of prior

 transactions could be considered for the limited purpose of

 showing an ongoing conspiratorial relationship; the absence of

 mistake; method of operation; or state of mind, knowledge, and

 intent to commit the crime. (10/1 T. 2020:13-2021:10.) The prior

 transactions were indeed relevant for those purposes at trial.

 That Mashon participated in additional fraudulent transactions

 tended to make more likely the fact that Mashon was not an

 unwitting participant. The evidence was also probative of the

 manner in which the conspiracy was carried out, since the

 uncharged transactions shared distinctive similarities with the

 charged ones. Finally, contrary to Defendant’s contention, the

 evidence was probative of Mashon’s conspiratorial relationship

 with Ricks. Because Mashon had previously participated in

 similar fraudulent transactions with the same person, it

 explained why Ricks did not need to be explicit with Mashon

 about what to do. The Government emphasized this point in

 particular in its closing argument, noting Rick’s testimony that

 “[a] lot of things once it started were unspoken,” and that

 “[o]nce the ball gets rolling it’s easier to do the next deal.”

 (10/2 T. 2093:7-23.) Because the references at issue were

 probative of “material issue[s] other than character,” they were

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 admissible under Rule 404(b). See United States v. Patela, 578

 Fed. Appx. 139, 142 (3d Cir. 2014) (Rule 404(b) evidence that

 defendant previously submitted false loan applications and made

 misrepresentations before a bankruptcy court was not improperly

 admitted because it rebutted claims of ignorance and mistake and

 demonstrated defendant’s capacity to knowingly perpetrate fraud

 without assistance from a co-conspirator).

       The Rule 404(b) evidence was probative and not unduly

 prejudicial. The Court cannot say that the prejudicial impact

 “substantially outweighed” its probative value in this case. The

 three previous transactions involving similar persons and

 similar acts were highly probative in demonstrating Mashon’s

 relationship with Ricks and her knowledge of the conspiracy, an

 issue which Mashon strenuously contested at trial. United States

 v. Holck, 398 F. Supp. 2d 338, 371 (E.D. Pa. 2005) (noting that

 evidence that is highly probative is “exceptionally difficult”

 to exclude). What’s more, the Third Circuit has previously held

 that evidence of a defendant’s previous participation in a drug

 conspiracy, undoubtedly more prejudicial than what was admitted

 in this case, was not unduly prejudicial to establish knowledge

 of a charged conspiracy. See, United States v. Vega, 285 F.3d

 256, 262 (3d Cir. 2002).

       Defendant argues in particular that the admission of three

 checks to Dwayne cashed by Mashon was unfairly prejudicial

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 because Agent Stefanowicz testified that he had no evidence the

 checks were payment for an illegal act. The Court disagrees.

 Evidence that Mashon Onque made deposits of her brother’s checks

 around the same time she participated in a fraudulent

 transaction with her brother is circumstantial evidence that

 Mashon benefited financially from the scheme and is probative of

 Mashon’s motive, knowledge, and intent. Defendant’s motion to

 vacate on this ground will be denied.

          C. Dwayne Onque

       Like Mashon, Dwayne Onque argues that the evidence did not

 support his conviction; the willful blindness instruction was

 improper; and the Government’s summary charts were improperly

 admitted. The Court will deny Dwayne’s motion on improper

 admission of the summary charts for the reasons already set

 forth in Part III.B.iv. The Court will address Dwayne’s other

 arguments below.

               i. The Evidence was Sufficient to Sustain the
                  Conviction and the Verdict was not against the
                  Weight of the Evidence

       Dwayne Onque challenges his conviction on the grounds of

 insufficiency of evidence under Federal Rule of Criminal

 Procedure 29(a) and weight of the evidence under Rule 33. He

 argues that the evidence did not support his convictions for

 conspiracy because it failed to establish that he possessed

 actual knowledge of any conspiracy, or that he was willfully

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 blind to it. (Br. of Dwayne Onque (“Br. of D.O.”) 4-6, 7-9.) For

 support, Dwayne points only to Ricks’ testimony that Dwayne “was

 just a buyer” and was not a major player in the conspiracy,

 which Ricks stated was between Henry, and Tarsia, and himself.

 (9/22 T. 1097:17-1098:1; 9/22 T1099:4-6; Br. of D.O. 8-9.)

       The Court does not agree. Knowledge of a conspiracy “may be

 inferred from conduct that furthered the purpose of the

 conspiracy,” United States v. McKee, 506 F.3d 225, 241 (3d Cir.

 2007), and there was sufficient evidence presented at trial

 showing how Dwayne’s actions were integral to the success of the

 scheme. The evidence showed that Dwayne signed fraudulent loan

 applications, attended closings and signed fraudulent closing

 documents and HUD-1 forms, and received money from lenders for

 the purchase of property. By inducing lenders to release funds

 based on false information, Dwayne’s actions directly furthered

 the purpose of the conspiracy.

       Dwayne participated in five different loan applications and

 attended five separate real estate closings. While the number of

 transactions does not by itself prove Dwayne’s knowledge, it

 makes it more likely that Dwayne knew the true nature of the

 business, and that this was a calculated and deliberate decision

 to participate. United States v. Claxton, 685 F.3d 300, 310 (3d

 Cir. 2012); United States v. Chaffo, 452 Fed. Appx. 154, 160 (3d

 Cir. 2011); United States v. Kapp, 781 F.2d 1008, 1011 (3d Cir.

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 1986). Repeatedly performing as a straw buyer negates the

 argument that he was just keeping bad company or was in the

 wrong place at the wrong time.

       There was also evidence at trial showing that Dwayne knew

 he was misrepresenting information in order for the transactions

 to go through. The Government presented testimony that Dwayne

 told investigators he allowed Ricks and Tarsia to deposit money

 into Dwayne’s bank account in order to “make it appear that he

 had a certain balance in his account in order for the purchases

 to go through.” (9/29 T1725:16-23.) Dwayne also stated that he

 knew Ricks and Tarsia had inflated his salary on the mortgage

 application. Finally, the Government presented evidence that

 Dwayne asked his former boss to “inflate” his job title if

 someone connected with his mortgage application called to ask

 about his real estate purchases. (9/29 T1726:4-8; 9/22 T1149:1-

 12.) Dwayne’s continued participation in the scheme when he knew

 fraudulent information was being used strongly implicates him,

 and negates Defendant’s argument that he was merely “negligent

 in signing papers without reading them.” (Br. of D.O. 5.)

       Knowledge may also be inferred from evidence of “excessive

 financial gain,” see United States v. Pearlstein, 576 F.2d 531,

 542 (3d Cir. 1978), and in this case, Dwayne made a considerable

 amount of money by entering into dealings with Ricks. Testimony

 from Agents Stefanowicz and Smith as well as Ricks all showed

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 that Dwayne made between $10,000 to $15,000 for each property in

 which Ricks “use[d] his name and credit.” (9/29 T. 1725:6-8.) In

 total, Dwayne received $75,000 for the five closings over a

 period of nine months (9/11 T. 411:5-412:1.), which was more

 than his entire year’s salary as a truck driver.

       Taken together, the evidence above is more than sufficient

 for a rational jury to find that Dwayne had knowledge of the

 criminal enterprise. See United States v. Anderskow, 88 F.3d

 245, 253 (3d Cir. 1996) (defendant’s knowledge that advance fees

 violated contractual obligations and ethical duties to

 customers, false excuses given to customers, and evidence of

 defendant’s financial gain from the scheme was sufficient to

 show defendant was a knowing and willing participant in a scheme

 to defraud).

       Accordingly, the Court will deny Defendant’s motion for

 acquittal under Rule 29(a). The Court reaches the same result

 when viewing the evidence neutrally under Rule 33. Because the

 verdict was not against the weight of the evidence and the Court

 is not convinced that this case presents a serious danger that

 an innocent man has been convicted, the Court will deny Dwayne’s

 motion for a new trial based on weight of the evidence.

              ii. Whether the Willful Blindness Jury Instruction
                  was Reversible Error

       Like Mashon, Dwayne also challenges the Court’s willful


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 blindness jury instruction, arguing that the evidence showed

 only that Dwayne was negligent in his conduct. The Court holds

 that a willful blindness instruction was appropriate as applied

 to Dwayne because there was sufficient evidence that he

 suspected and deliberately ignored the criminal conspiracy.

       The Government presented evidence that Dwayne closed on

 five real estate transactions in 9 months using loan

 applications with falsified information. Even if Dwayne believed

 at the beginning that he and Ricks were going into a legal

 business of buying and selling properties for profit, he could

 not have believed it by the end. As already noted above, the

 evidence showed that Dwayne knew Ricks was falsifying mortgage

 applications in Dwayne’s name in order to get approval for the

 loans. Instead of withdrawing, Dwayne continued to partner with

 Ricks. At Ricks’ behest, he also asked his employer to lie so

 that his loan application could be approved, and accepted money

 into his bank account knowing that it would be used to deceive

 lenders.

       It was clear that Dwayne’s actions went beyond mere

 negligence, for they show that he was at the very least aware of

 his role in the deception and of the high probability that the

 conduct was criminal. Yet he allowed the activity to continue,

 received a significant amount of money for his participation,

 and refused to ask any questions about the legality of the

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 scheme. The willful blindness instruction with respect to Dwayne

 therefore did not constitute reversible error. See United States

 v. Ugwu, 539 Fed. Appx. 35, 38-39 (3d Cir. 2013) (rejecting the

 defendant’s argument that a willful blindness instruction was

 unjustified where there was evidence that the defendant signed

 false HUD-1 statements, received deposits greater than the

 amount listed on the HUD-1, signed funds over to a co-

 conspirator, and lied about purpose of the transfer);               United

 States v. Stadtmauer, 620 F.3d 238, 259 (3d Cir. 2010) (willful

 blindness instruction was appropriate where defendant, who was

 “intimately involved with the operations of the partnerships”

 failed to ask questions despite his awareness of a high

 probability that the partnerships’ tax returns contained false

 information); United States v. Rickard, 336 Fed. Appx. 235, 241

 (3d Cir. 2009) (willful blindness instruction justified where

 defendant in mortgage fraud scheme who participated in

 fraudulent closings received funds well in excess of money she

 was due).

       Even if the willful blindness instruction had been

 erroneously given, the error was harmless. There was sufficient

 evidence in the record from which a jury could have concluded

 that Dwayne Onque had actual knowledge of wrongdoing, so any

 error did not prejudice him. See Stadtmauer, 620 F.3d at 260 n.

 26 (willful blindness instruction, even if given in error, was

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 not prejudicial because there was “ample evidence” of

 defendant’s actual knowledge); Ugwu, 539 Fed. Appx. at 39.

          D. Nancy Wolf-Fels

       Wolf-Fels’ motion for a new trial centers around what she

 alleges is newly-discovered evidence of the source of a single

 check that was admitted into evidence at trial.

       At trial, as evidence that Wolf-Fels was compensated for

 her role in the conspiracy as a loan officer, the Government

 introduced checks that Wolf-Fels received. The checks, from

 Darryl Henry to Nancy Wolf-Fels, were written in February,

 April, and June of 2004 in the amounts of $7,000, $5,700, and

 $5,000. (Gov’t Exs. 2203, 2304, 2400.) Darryl Henry testified

 that all three checks were given to Wolf-Fels for her

 participation in the conspiracy. (9/15 T. 484:14-485:1; T.

 493:9-23; T. 502:10-503:5.) Another co-conspirator who testified

 at trial, Donald Cromwell, Jr., provided somewhat contradictory

 testimony as to one of the checks. On cross-examination, he

 stated that he had borrowed $5,000 from Wolf-Fels to buy a car,

 and that he paid Wolf-Fels back by asking Henry to write her a

 check for that amount. (9/17 T. 913:20-914:18.)

       Wolf-Fels now argues that a new trial should be granted

 because of newly-discovered evidence. In a certification to the

 Court, Wolf-Fels states that, after the trial was over, she

 found a roofing invoice among her late husband’s records, which

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 were stored in the attic of her house. (Wolf-Fels Cert. [Docket

 Item 231] ¶ 4.) The invoice, appended to Defendant’s brief, is

 dated March 23, 2004 and Wolf-Fels contends that it is signed by

 her late husband, Robert J Fels Jr., who owned a roofing

 company. The following appears in the description box:

       Re-Roof
       101 Hillcrest, Maplewood, NJ
       Plywood, Nails, [illegible] shingles

 (Fels Invoice [Docket Item 231].) The invoice notes that the

 total amount due is $5,700. Wolf-Fels alleges that Darryl Henry,

 who owned 101 Hillcrest at the time the invoice was written,

 owed Wolf-Fels’ husband $5,700 for roofing services, and his

 April 2004 check to Wolf-Fels for $5,700 was therefore payment

 for this debt. She contends that her conviction cannot stand

 because (1) this evidence demonstrates that Henry perjured

 himself at trial when he stated that the checks to Wolf-Fels

 were payment for her role in the conspiracy; and because (2) the

 invoice is newly-discovered evidence that would have changed the

 outcome at trial. (Br. of Nancy Wolf-Fels (“Br. of N.W.”) 4-6.)

               i. A New Trial is not Warranted on the Basis of
                  Allegedly Perjured Evidence

       The use of perjured testimony may provide a basis for a new

 trial. To grant a new trial on this ground, the court must be

 satisfied that: (1) the testimony given by a material witness

 was false; (2) without the testimony the jury might have reached


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 a different outcome; and (3) the party seeking a new trial was

 taken by surprise when the false testimony was given and was

 unable to meet it or did not know the falsity of it until after

 the trial. United States v. Meyers, 484 F.2d 113, 116 (3d Cir.

 1973); United States v. Massac, 867 F.2d 174, 178 (3d Cir.

 1989). Wolf-Fels argues that Cromwell’s testimony that Henry

 gave $5,000 to Wolf-Fels in repayment for a loan combined with

 new evidence of a $5,700 roofing invoice to Henry establishes

 that Henry committed perjury when he testified that both checks

 he wrote to Wolf-Fels were for her participation in the

 conspiracy.

       The Court is not convinced that a new trial is required.

 First, the Court is not persuaded that Defendant’s cited

 evidence shows that Henry’s testimony was false. Evidence

 proving that a witness testified falsely to satisfy the first

 prong must be more than evidence that merely impeaches. See,

 e.g., United States v. McLaughlin, 89 F. Supp. 2d 617, 622 (E.D.

 Pa. 2000) (finding that witness perjured himself where his

 testimony that he had no knowledge of a trust account

 contradicted his own worksheet with entries from the trust

 account). Cromwell’s explanation of why Henry paid to Wolf-Fels

 merely contradicted Henry’s testimony; it clearly did not prove

 Henry’s testimony false. It was entirely within the jury’s

 province to consider both statements and assign weight to each

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 witness’s testimony. Likewise, the roofing invoice is far from

 proof that Henry was lying. The evidence only showed that Henry

 owed money to Robert Fels around the time Wolf-Fels received a

 check. There is no evidence that Robert Fels’s invoice was

 actually given to Henry; that Henry paid it; and, most

 significantly, that Henry was paid in an unusual manner, in the

 form of a check made out to Nancy Wolf-Fels rather than to the

 business itself, Roofing Services, or its owner, Robert Fels,

 who was still alive in 2004.

       Nor is the Court convinced that the second prong has been

 satisfied because a jury could have relied on other independent

 evidence to establish Wolf-Fels’ connection to the conspiracy

 beyond a reasonable doubt. For example, the jury saw evidence of

 a third check Henry had written to Wolf-Fels in the amount of

 $7,000, which Henry testified was payment for Wolf-Fels’ role in

 the fraud. And at trial, Henry testified specifically to Wolf-

 Fels’ knowledge and role in the conspiracy:

       Q. And how did you introduce [Wolf-Fels] as -- what
       did you introduce her as?
       A. I told them that Fels and I worked in the past and
       who would cooperate with conducting the mortgage
       procedure the same way that the people they had were
       doing.
       Q. What did you mean by that, conducting the procedure
       the way it had been done in the past?
       A. To help us structure it fraudulently so we could
       get the properties closed.
       . . .



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       Q. You didn't have to worry about Ms. Wolf-Fels
       telling anyone that you were essentially proposing a
       fraud, is that correct?
       A. Correct.

 (9/15 T. 528:12-530:8.) Moreover, Henry’s testimony about Wolf-

 Fels’ part in the conspiracy was corroborated by a number of

 other witnesses. Jerry Smith testified that Henry told him that

 Wolf-Fels was “[Henry’s] mortgage person” and “the one that gets

 things done for [Henry.]” (9/29 T. 1639:2-7.) He also testified

 that he had numerous phone conversations with Wolf-Fels and

       If [loan] documents were not correct, [Wolf-Fels]
       would basically say this guy doesn’t make enough, you
       got to – this is what it should be saying or if it was
       an incorrect number or statement on a document, she
       would basically say this is not good, you need to take
       this back and do it over.

 (9/29 T.1639:9-14; see also 9/29 T. 1642:20-1643:6.) James

 Ezeilo, another co-conspirator, testified to Wolf-Fels’

 participation in the conspiracy and to speaking on the phone

 with her about “creative financing” to make sure a fraudulent

 deal closed. (9/22 T. 1273:4-1274:25.) Cromwell, Timothy Ricks,

 and Elizabeth Hidalgo all corroborated Henry and Smith’s

 testimony that Wolf-Fels put together false loan applications

 for lenders and had conversations about the necessity of

 inflating salary assets on loan applications. (See, e.g., 9/16

 T. 829:2-13; 9/17 T. 858:22-860:13; 9/22 T. 1061:10-16.) Because

 there was substantial other evidence on which to convict Wolf-

 Fels, Henry’s testimony about Wolf-Fels’ receipt of two checks,

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 even if false, would not have affected the jury’s judgment “in

 any reasonable likelihood.” United States v. Freeman, 763 F.3d

 322 (3d Cir. 2014); see also United States v. Leary, 206 Fed.

 Appx. 111, 115 (3d Cir. 2006) (impeachment evidence may support

 a new trial only if it “‘would have undermined a critical

 element of the prosecution’s case.’” (quoting United States v.

 Wong, 78 F.3d 73, 79 (2d Cir. 1996)).

       Finally, Wolf-Fels cannot satisfy the third prong because

 she had ample notice and opportunity to confront Henry’s

 allegedly false testimony at trial. Indeed, Cromwell’s testimony

 was elicited by Wolf-Fels’ own counsel during cross examination,

 after Henry testified. The fact that the exact evidence which

 Wolf-Fels now alleges proves Henry’s testimony false was brought

 out at trial by Wolf-Fels’ attorney eliminates any doubt as to

 whether Wolf-Fels had a fair opportunity to meet Henry’s

 testimony.

       Nor can Wolf-Fels convincingly claim that she was taken by

 surprise when she heard the testimony about the checks, because

 Wolf-Fels had long had notice that the Government possessed

 these checks and intended to introduce them at trial as evidence

 of an ongoing conspiratorial relationship. The Government filed

 a motion to admit evidence in February 2014, seven months before

 trial, stating explicitly that “Darryl Henry will testify that

 Wolf-Fels was paid thousands of dollars from Henry’s real estate

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 company – shortly after closing” on three fraudulent

 transactions in February and April of 2004. (Feb. 20, 2014

 Letter to admit additional 404(b) evidence [Docket Item 146] 2).

 These checks were produced to Wolf-Fels during discovery. The

 Government also sent an Exhibit List to counsel prior to trial,

 which listed the exact checks the Government intended to

 introduce. (Gov’t Br. 40.)

       Because the Court is not satisfied that Defendant has met

 any of the requirements for a new trial based on allegedly

 perjured testimony, Defendant’s motion will be denied.

              ii. A New Trial is not Warranted on the Basis of
                  Newly Discovered Evidence

       The existence of newly discovered evidence may provide an

 independent basis for a new trial. To succeed on such a motion,

 the defendant must meet five requirements: (a) the evidence must

 be newly discovered since the trial; (b) failure to learn of the

 evidence must not have been caused by the defendant’s lack of

 diligence; (c) the evidence must not be merely cumulative or

 impeaching; (d) the evidence must be material to the issues

 involved; and (e) it must be of such nature that, on a new

 trial, the newly discovered evidence would probably produce an

 acquittal. United States v. Kelly, 539 F.3d 172, 181 (3d Cir.

 2008) (citing United States v. Iannelli, 528 F.2d 1290, 1292 (3d

 Cir. 1976)); United States v. Meyers, 484 F.2d 113, 116 (3d Cir.


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 1973). Although the decision whether to grant a new trial lies

 within the discretion of the Court, the movant has a “heavy

 burden” of proving each of these requirements. United States v.

 Cimera, 459 F.3d 452, 458 (3d Cir. 2006) (quoting United States

 v. Saada, 212 F.3d 210, 216 (3d Cir. 2000). The Third Circuit

 has noted that “[c]ourts should ‘exercise great caution in

 setting aside a verdict reached after fully-conducted

 proceedings,’ and particularly so where ‘the action has been

 tried before a jury.’” Kelly, 539 F.3d 172, 181 (3d Cir. 2008)

 (quoting United States v. Kamel, 965 F.2d 484, 493 (7th Cir.

 1992)).

       Before newly-discovered evidence can be a basis for a new

 trial, it must, as a threshold matter, be admissible evidence.

 There is grave doubt of the authenticity of the alleged invoice.

 The invoice lists no customer name, no invoice number, no sales

 tax, no description of the shingles to be used, no deposit, no

 address for the customer, and no reflection that payment was

 received. The document would have a hard time passing muster

 under Rule 803(6) for business records and Rule 902 for

 authenticity, and the circumstances of its post-trial discovery

 also erode indicia of reliability. Moreover, it would certainly

 be odd for a payment of such an invoice to be by a check payable

 to the contractor’s wife and deposited to her individual

 account, so the fact of the $5,700 payment lends no

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 corroboration to the authenticity of this document. Despite

 these obvious impediments to admissibility, the Court will, for

 purposes of this motion, assume that the invoice could be

 admissible if there were a retrial.

       Wolf-Fels cannot satisfy these five Iannelli requirements.

 First, Wolf-Fels cannot establish that the newly discovered

 evidence would likely produce an acquittal at a new trial. As an

 initial matter, it is doubtful whether the invoice would even be

 admitted into evidence. The statements in the invoice are

 hearsay, and it is unclear whether anyone would have been able

 to authenticate the document as a business record under Federal

 Rule of Evidence 803(6). Moreover, even if the roofing invoice

 could be admitted, as the Court has already explained, it would

 not overcome the substantial independent evidence that exists to

 show Wolf-Fels’ knowledge of and participation in the

 conspiracy. See Saada, 212 F.3d at 217 n.6 (court must deny a

 new trial motion “[w]here there is sufficient independent

 evidence to sustain a finding of guilt.”). Mostly importantly,

 receipt of these payments is not an essential element of the

 crime for which Wolf-Fels was convicted, namely, conspiracy to

 commit wire fraud.

       Nor can Wolf-Fels satisfy the second prong. The focus of

 the diligence inquiry is on “whether the evidence at issue could

 have been discovered before or at the time of trial with the

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 exercise of reasonable diligence on behalf of the defendant

 and/or his counsel.” Kelly, 539 F.3d 172, 182 (3d Cir. 2008);

 United States v. DeRenewal, 10 F.3d 100, 104 (3d Cir. 1993). To

 show diligence, “facts must be alleged from which the court may

 infer diligence on the part of the movant.” United States v.

 Cimera, 459 F.3d 452, 461 (3d Cir. 2006).

       Here, it is clear that despite ample notice, Wolf-Fels

 exercised no diligence at all in looking for the roofing invoice

 before trial. The Government contends – and Wolf-Fels does not

 dispute – that the checks introduced at trial were provided to

 Wolf-Fels in discovery in September 2012. As noted above, the

 check was also the subject of a pre-trial in limine motion which

 the Government filed in February of 2014, and it was on the

 Government’s Exhibit List sent to counsel in August 2014. (Gov’t

 Br. 40; Feb. 20, 2014 Letter to admit additional 404(b) evidence

 [Docket Item 146] 2.) Wolf-Fels was therefore on notice long

 before trial that the Government intended to introduce these

 checks as evidence of the payments she had received from Henry

 for participating in the scheme. She provides no explanation for

 why she could not have searched her files once she was put on

 notice in 2012, two years before trial, or once it became clear

 eight months before trial that the Government was seeking to use

 the checks at trial.

       Indeed, the roofing invoice would have been found with even

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 a moderate amount of diligence. Common sense would have dictated

 that Wolf-Fels was going to have to provide an explanation for

 the checks, and old invoices from her husband’s roofing business

 might shed some light, particularly where the evidence here

 suggests that Wolf-Fels claims she received checks in her name

 for payment for her husband’s work.

       Even if the Court were inclined to believe Wolf-Fels’

 statement that she did not think to look through her husband’s

 files until she heard Henry’s testimony, (Wolf-Fels Cert. ¶ 4),

 that explanation still does not explain why she could not have

 searched her husband’s files while the trial was ongoing.

 Henry’s roofing connection to Wolf-Fels’ late husband was known

 to the defense at trial. Henry was specifically asked on the

 fifth day of trial by Wolf-Fels’ attorney whether he had ever

 employed Wolf-Fels’ husband to do roofing work. (9/15 T. 601:18-

 23.)5 There was no obstacle which prevented her from getting to

 the invoice during the three weeks following Henry’s testimony,

 since Wolf-Fels noted herself that the roofing invoice was

 merely in the attic of her house. (Wolf-Fels Cert. ¶ 4.) The

 Court finds no reasonable excuse for Wolf-Fels’ lack of effort

 and must conclude that Wolf-Fels has not satisfied the


 5 The fact that Wolf-Fels’ attorney asked this specific question
 while interrogating Henry about checks to Wolf-Fels suggests
 that Wolf-Fels suspected the check’s connection with her
 husband’s roofing business even before that particular day.
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 requirement of diligence.

       Although the reasons provided above are sufficient to deny

 Wolf-Fels’ motion, the Court notes that the new evidence also

 fails the third prong of the test because it is merely

 impeaching. To be considered not merely impeaching, newly

 discovered evidence must have a “strong exculpatory connection”

 with the evidence presented at trial or must throw “severe

 doubt” on critical inculpatory evidence. United States v.

 Quiles, 618 F.3d 383, 393 (3d Cir. 2010).6 The roofing invoice

 relates only to a single check, which was admitted under Rule

 404(b) for the limited purpose of showing an ongoing

 conspiratorial relationship, state of mind, knowledge, and

 intent. As such, it is hardly “critical inculpatory evidence.”

 Even if it tends to weaken Henry’s credibility, it does not

 throw doubt on the testimony of Hidalgo, Cromwell, Smith, and

 others, all of whom testified to Wolf-Fels’ role in the

 conspiracy, a fact that Defendant’s brief ignores.

       The Court holds that Defendant has not proven that a new



 (9/15 T. 601:18-24.)
 6 The Third Circuit case United States v. Saada, 212 F.3d 210,

 (3d Cir. 1999) illustrates the high bar that must be overcome to
 find that new evidence is not merely impeaching. In Saada, a
 witness who testified for the government pursuant to a
 cooperation agreement was later caught on tape advising a friend
 to give false testimony in exchange for a reduced sentence. The
 evidence greatly undermined the defendant’s testimony, but the
 Court nevertheless found that the evidence was “only” impeaching
 because there was no “exculpatory connection” between the new
                                        58
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 trial should be granted under Rule 33. Defendant’s motion will

 therefore be denied.

 IV.   CONCLUSION

       For the reasons set forth above, Mashon Onque’s motions for

 acquittal and for a new trial; Dwayne Onque’s motions for

 acquittal and for a new trial; and Nancy Wolf-Fels’ motion for a

 new trial are denied. An accompanying Order will be entered.



 February 9, 2015                             s/ Jerome B. Simandle
 Date                                        JEROME B. SIMANDLE
                                             Chief U.S. District Judge




 evidence and the defendant’s criminal acts. 212 F.3d at 216.
                                        59
